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  UNITED STATES DEPARTMENT OF JUSTICE
  OFFICE OF THE UNITED STATES TRUSTEE
  KEVIN M. EPSTEIN
  UNITED STATES TRUSTEE
  AUBREY L. THOMAS
  ASSISTANT UNITED STATES TRUSTEE
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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


  IN RE:                           §
                                   §
  LEGACY LOFTS ON ST. MARY’S, LLC, §                     CASE NO. 22-51377-CAG
                                   §                     CHAPTER 11
                                   §
                                   §                     Hearing Date: Not Requested
  DEBTOR.                          §

                        MOTION OF THE UNITED STATES TRUSTEE
                          TO DISMISS CASE OR CONVERT CASE

         This pleading requests relief that may be adverse to your interests.

         If no timely response is filed within twenty one (21) days from the date of service, the
         relief requested herein may be granted without a hearing being held.

         A timely filed response is necessary for a hearing to be held.


  TO THE HONORABLE CRAIG A. GARGOTTA
  CHIEF UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW, KEVIN M. EPSTEIN, the United States Trustee for Region 7 ("U.S.

  Trustee"), through the undersigned counsel, pursuant to 11 U.S.C. § 1112 and respectfully moves

  for an order dismissing the case or converting the case and represents as follows:
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                                    I.     BACKGROUND FACTS

          1.      On December 5, 2022, Legacy Lofts on St. Mary’s, LLC (the “Debtor’) filed a

  voluntary petition under Chapter 11 of the Bankruptcy Code commencing the above case. The

  Debtor designated the case as a single asset real estate case. The Debtor has operated as a debtor

  in possession since the filing of the case.

          2.      The Debtor has failed to file monthly operating reports for December 2022 and

  January 2023.

          3.          The U.S. Trustee alleges, upon information and belief, that the Debtor has not

  paid the U.S. Trustee quarterly fees due for the 4th quarter of 2022. The U.S. Trustee alleges the

  Debtor owes estimated quarterly fees of $250.00.

                II.      THIS CASE SHOULD BE DISMISSED OR CONVERTED

          4.      Under section 1112(b) of the Bankruptcy Code, the Bankruptcy Court shall dismiss

  a case or convert a case to chapter 7, whichever is in the best interest of the creditors and the estate,

  if the movant establishes cause, unless the Court finds that a chapter 11 trustee or examiner is in

  the best interests of the creditors and the estate, or the Court finds and specifically identifies

  unusual circumstances that establish that conversion or dismissal of the case is not in the best

  interest of creditors and the estate. 11 U.S.C. § 1112(b).

          5.      The Debtor has failed to file monthly operating reports in this case. Timely and

  accurate financial disclosure is the life blood of the Chapter 11 process." In re Berryhill, 127 B.R.

  427, 433 (Bankr. N.D. Ind. 1991). Because monthly operating reports are the means by which the

  creditors, the Court, and the United States Trustee can monitor a debtor's post-petition operations,




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  the failure to file monthly operating reports by itself constitutes sufficient cause to warrant

  dismissal of this chapter 11 case or conversion to chapter 7. 11 U.S.C. § 1112(b)(4)(F); Roma

  Group, Inc. v. Office of the United States Trustee (In re Roma Group, Inc.), 165 B.R. 779, 780

  (S.D.N.Y. 1994) (failure to file monthly operating reports "undermines the Chapter 11 process and

  constitutes cause for dismissal or conversion"); In re Bacon, 52 B.R. 52, 53-54 (Bankr. N.D. Iowa

  1985) (failure to file monthly operating reports is sufficient "cause" to warrant dismissal of chapter

  11 case because "creditors are not being provided the basic financial data necessary to make

  decisions regarding their best interests"). Without the reports, the Court, the U.S. Trustee, and

  creditors cannot know whether the Debtor is paying its debts as they come due or whether it is

  generating sufficient cash flow to fund a plan of reorganization.

          6.      Because the Debtor is not fulfilling the obligations as a chapter 11 debtor by filing

  monthly operating reports, the case should be dismissed or converted. 11 U.S.C. § 1112(b)(4)(F).

          7.      Because the Debtor has failed to timely pay quarterly fees for the 4th quarter of

  2022, the case should be dismissed or converted. 11 U.S.C. § 1112(b)(4)(K).

          8.      Furthermore, the U.S. Trustee alleges there is cause to dismiss the case due to

  continuing diminution of the estate and the absence of a reasonable likelihood of rehabilitation.

  11 U.S.C. § 1112(b)(4)(A). The U.S. Trustee further alleges upon information and belief that

  Debtor has failed to file a plan of reorganization or prosecute this case. The U.S. Trustee also

  alleges upon information and belief that the Debtor is continuing to incur administrative expenses

  in this case with no reasonable likelihood of rehabilitation. Therefore, there is cause to dismiss or

  convert the case.

          9.      The U.S. Trustee alleges upon information and belief that there is no equity in the

  Debtor’s real property and that dismissal, rather than conversion, is in the best interests of creditors.




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  The Debtor does not appear to have any unencumbered assets available for the payment of

  unsecured claims in a hypothetical Chapter 7 case.

         10.     If the case is dismissed, the U.S. Trustee requests that the order dismissing the case

  provide for payment of any quarterly fees owed to the U.S. Trustee. 28 U.S.C. § 1930.

         WHEREFORE, the U.S. Trustee prays that the Court enter an order dismissing or

  converting the case and for any and all further relief as is equitable and just.

                                                         Respectfully submitted,

                                                         KEVIN M. EPSTEIN
                                                         UNITED STATES TRUSTEE
                                                         REGION 7
                                                         Southern and Western Districts of Texas

                                                         By:    /s/James W. Rose, Jr.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing MOTION OF THE UNITED
  STATES TRUSTEE DISMISS CASE OR CONVERT CASE, was served upon the parties on the
  attached service by United States Mail, first class, postage prepaid, and/or by electronic means for
  all Pacer system participants on this the 20th day of March 2023.

                                                         /s/ James W. Rose, Jr.
                                                         James W. Rose, Jr.
                                                         Trial Attorney




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Label Matrix for local noticing                      Legacy Lofts on St. Mary’s, LLC                      U.S. BANKRUPTCY COURT
0542-5                                               1827 N St. Mary’s St                                 615 E. HOUSTON STREET, ROOM 597
Case 22-51377-cag                                    San Antonio, TX 78212-4541                           SAN ANTONIO, TX 78205-2055
Western District of Texas
San Antonio
Mon Mar 20 07:54:14 CDT 2023
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bexar County                                         (d)Bexar County                                      End of Label Matrix
c/o Don Stecker                                      c/o Don Stecker                                      Mailable recipients   19
112 E. Pecan Street, Suite 2200                      112 E. Pecan Street, Suite 2200                      Bypassed recipients    0
San Antonio, TX 78205                                San Antonio, TX 78205                                Total                 19
